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                                                                                                    United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                               June 22, 2023
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                             Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
MLCJR LLC, et al.,1                                          : Case No. 23-90324 (CML)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                 ORDER (A) SETTING BAR DATES FOR FILING
          PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
      UNDER SECTION 503(b)(9), (B) ESTABLISHING AMENDED SCHEDULES
       BAR DATE AND REJECTION DAMAGES BAR DATE, (C) APPROVING
    THE FORM OF AND MANNER FOR FILING PROOFS OF CLAIM, INCLUDING
    SECTION 503(b)(9) REQUESTS, AND (D) APPROVING NOTICE OF BAR DATES

                                  [Relates to Motion at Docket No. 439 ]

        Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Bar Date Order”), (a) establishing

deadlines for filing proofs of claim, including requests for payment under section 503(b)(9) of the

Bankruptcy Code, in these chapter 11 cases; (b) establishing the Amended Schedules Bar Date and

the Rejection Damages Bar Date; (c) approving the form and manner for filing such claims,

including any section 503(b)(9) requests for payment, and (d) approving notice of the Bar Dates,

all as more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding within the meaning

of 28 U.S.C. § 157(b); and that this Court may enter a final order consistent with Article III of the


1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    MLCJR LLC (0875); Cox Oil Offshore, L.L.C. (7047); Cox Operating, L.L.C. (0939); Energy XXI GOM, LLC
    (0027); Energy XXI Gulf Coast, LLC (8595); EPL Oil & Gas, LLC (9562); and M21K, LLC (3978). The Debtors’
    address is 4514 Cole Ave, Suite 1175, Dallas, Texas 75205.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



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United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties in interest; and this Court having found that the Debtors’ notice of the

Motion and opportunity for a hearing on the Motion were appropriate and no other notice need be

provided; and this Court having reviewed the Motion and having heard the statements in support

of the relief requested therein at a hearing before this Court, if any (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein; and upon all of the proceedings had before this

Court; and after due deliberation and sufficient cause appearing therefor, it is hereby

                  ORDERED THAT:

I.       The Bar Dates and Procedures for Filing Proofs of Claim

         1.       Each entity3 that asserts a claim (whether secured, unsecured, priority, or non-

priority) against any of the Debtors that arose or is deemed to have arisen before the Petition Date,

including claims arising under section 503(b)(9) of the Bankruptcy Code, must file an original,

written proof of claim (a “Proof of Claim”), substantially in the form attached hereto as Exhibit 1

(the “Proof of Claim Form”) or Official Form 410. Except in the cases of governmental units and

certain other exceptions explicitly set forth herein, a Proof of Claim must be filed so that it is

actually received on or before Wednesday, July 26, 2023, at 5:00 p.m., prevailing Central

Time (the “General Bar Date”) by the Debtors’ claims and noticing agent, Kroll Restructuring

Administration LLC (“Kroll”), in accordance with the instructions set forth in this Bar Date Order.



3
     Except as otherwise defined herein and in the Motion, all terms used but not defined herein that are specifically
     defined in the Bankruptcy Code, including “entity,” “claim,” and “governmental unit,” shall have the meanings
     ascribed to such terms in section 101 of the Bankruptcy Code.



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The General Bar Date applies to all types of claims against the Debtors that arose or are deemed

to have arisen before the Petition Date, except for claims specifically exempt from complying with

the applicable Bar Dates as set forth in this Bar Date Order.

        2.      Any entity that asserts a claim against the Debtors that arose before the Petition

Date is authorized to file a Proof of Claim that redacts personally identifiable information with

Kroll; provided, that an unredacted Proof of Claim shall be provided upon request by the Debtors.

        3.      The Debtors are authorized to take reasonable action to prevent an entity’s

personally identifiable information from being publicly available on the claims register.

        4.      Each governmental unit that asserts a claim (whether secured, unsecured, priority,

or non-priority) against the Debtors that arose or is deemed to have arisen before the Petition Date,

including claims arising under section 503(b)(9) of the Bankruptcy Code and claims for unpaid

taxes arising from prepetition tax years or periods or prepetition transactions, must file a Proof of

Claim so that it is actually received on or before Friday, November 10, 2023 at 5:00 p.m.,

prevailing Central Time (the “Governmental Bar Date”) by Kroll in accordance with the

instructions set forth in this Bar Date Order.

        5.      Unless otherwise ordered, each entity asserting a claim arising from the Debtors’

rejection of an executory contract or unexpired lease must file a Proof of Claim on account of such

claim so that it is actually received by Kroll, in accordance with the instructions set forth in this

Bar Date Order, by the later of (a) the General Bar Date or Governmental Bar Date, as applicable,

and (b) 5:00 p.m., prevailing Central Time, on the date that is thirty (30) days following service of

an order approving the Debtors’ rejection of such executory contract or unexpired lease

(the “Rejection Damages Bar Date”).

        6.      If the Debtors amend their schedules (the “Schedules”) after having given notice

of the Bar Dates (as defined below), the Debtors shall give notice by first-class mail of any


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amendment to holders of claims affected thereby, and, except for entities that are exempt from

complying with the applicable Bar Dates, as set forth in this Bar Date Order, such holders must

file Proofs of Claim on account of such affected claims so that they are actually received by Kroll,

in accordance with the instructions set forth in this Bar Date Order, by the later of (a) the General

Bar Date or Governmental Bar Date, as applicable, and (b) 5:00 p.m., prevailing Central Time, on

the date that is thirty (30) days from the date the notice of the Schedule amendment is mailed

(the “Amended Schedules Bar Date” and together with the General Bar Date, the Governmental

Bar Date, and the Rejection Damages Bar Date, as applicable, the “Bar Date” or “Bar Dates”).

        7.      All Proofs of Claim must be filed so as to be actually received by Kroll on or

before the applicable Bar Date. If Proofs of Claim are not received by Kroll on or before the

applicable Bar Date, except in the case of certain exceptions explicitly set forth herein, the holders

of the underlying claims shall be barred from asserting such claims against the Debtors and

precluded from voting on any plans of reorganization filed in these chapter 11 cases and/or

receiving distribution from the Debtors on account of such claims in these chapter 11 cases.

II.     Parties Required to File Proofs of Claim.

        8.      The following categories of claimants, in the capacities described below, shall be

required to file a Proof of Claim based on such claims:

                a.     any entity whose claim against a Debtor is not listed in the applicable
                       Debtor’s Schedules or whose claim is listed as contingent, unliquidated, or
                       disputed, if such entity desires to participate in the chapter 11 cases or
                       otherwise wishes to share in any distribution arising from the chapter 11
                       cases;

                b.     any entity that believes its claim is improperly classified in the Schedules
                       or listed for an incorrect amount and desires to have its claim allowed under
                       a classification or in an amount different than set forth in the Schedules;

                c.     any former or present full-time, part-time, salaried, or hourly employee
                       asserting a claim based on a grievance against any Debtors to the extent the
                       grounds for such grievance arose on or prior to the Petition Date; provided,


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                       that current employees of the Debtors are not required to file a Proof of
                       Claim for wages, commissions, or benefits;

                d.     any entity that believes its claim is listed in the wrong Debtor’s Schedule
                       and desires to have its claim allowed against a Debtor whose Schedule does
                       not list such entity’s claim; and

                e.     any entity alleging that its claim is or may qualify as an administrative
                       expense pursuant to section 503(b)(9) of the Bankruptcy Code.

III.    Parties Exempted from the Bar Date

        9.      The following categories of claimants, in the capacities described below, shall not

be required to file a Proof of Claim based on such claims:

                a.     the U.S. Trustee, on account of claims for fees payable pursuant to
                       28 U.S.C. § 1930;

                b.     any entity that has filed a signed Proof of Claim against the respective
                       Debtor(s) with the Clerk of the Court or with Kroll in a form substantially
                       similar to Official Form 410 prior to entry of an order on this Motion;

                c.     any entity whose claim is listed on the Schedules and: (i) is not listed in the
                       Schedules as “disputed,” “contingent,” or “unliquidated;” (ii) such entity
                       agrees with the amount, nature, and priority of the claim as set forth in the
                       Schedules; and (iii) such entity does not dispute that its claim is an
                       obligation only of the specific Debtor against which the claim is listed in
                       the Schedules;

                d.     any entity whose claim has previously been allowed by a final order of the
                       Court entered on or before the applicable Bar Date;

                e.     any Debtor or non-Debtor affiliate having a claim against a Debtor;

                f.     any entity whose claim is solely against any non-Debtor affiliates;

                g.     any entity whose claim has been paid in full by the Debtors pursuant to the
                       Bankruptcy Code or in accordance with a Court order;

                h.     any current employee of the Debtors, if an order of the Court authorized the
                       Debtors to honor such claim in the ordinary course of business as a wage,
                       commission, or benefit;

                i.     any current or former officer, manager, director, or employee for claims
                       based on indemnification, contribution, or reimbursement to the extent
                       arising from the Debtors’ organizational documents, limited liability
                       company agreements, charters or bylaws; provided that the current


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                       Independent Manager shall be exempted from the requirements of this
                       Order;

                j.     any entity holding a claim for which a separate deadline is fixed by an order
                       of this Court;

                k.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                       the Bankruptcy Code as an administrative expense; provided, that any entity
                       asserting a claim entitled to priority under section 503(b)(9) of the
                       Bankruptcy Code must assert such claims by filing an application for
                       payment or a Proof of Claim on or prior to the General Bar Date;

                l.     any party that is exempt from filing a Proof of Claim pursuant to an order
                       of the Court in these chapter 11 cases, including without limitation, the
                       Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
                       Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2),
                       364(c)(3), 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant
                       to 11 U.S.C. § 363, (II) Granting Adequate Protection to Prepetition
                       Secured Parties Pursuant to 11 U.S.C. §§ 361, 362, 363, 364 and 507(b)
                       and (III) Scheduling Final Hearing Pursuant to Bankruptcy Rules 4001(b)
                       and (c) (the “DIP Order”); and

                m.     any entity holding an equity interest in any Debtor.

IV.     Substantive Requirements of Proofs of Claim

        10.     The following requirements shall apply with respect to filing and preparing each

Proof of Claim:

                a.     Contents. Each Proof of Claim must: (i) be written in English; (ii) include
                       a claim amount denominated in United States dollars; (iii) conform
                       substantially with the Proof of Claim Form provided by the Debtors or
                       Official Form 410; and (iv) be signed by the claimant or by an authorized
                       agent or legal representative on behalf of the claimant.

                b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                       priority under section 503(b)(9) must also: (i) include the value of the goods
                       delivered to and received by the Debtors in the twenty (20) days prior to the
                       Petition Date; (ii) attach any documentation identifying the particular
                       invoices for which the 503(b)(9) claim is being asserted; and (iii) attach
                       documentation of any reclamation demand made to the Debtors under
                       section 546(c) of the Bankruptcy Code (if applicable).

                c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                       electronically or in ink by the claimant or an authorized agent or legal
                       representative of the claimant are acceptable for purposes of claims



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                     administration. Copies of Proofs of Claim, or Proofs of Claim sent by
                     facsimile or electronic mail, will not be accepted.

                d.   Identification of the Debtor Entity. Each Proof of Claim must clearly
                     identify the specific Debtor against which a claim is asserted, including the
                     individual Debtor’s case number. A Proof of Claim filed under the joint
                     administration case number (Case No. 23-90324 (CML)), or otherwise
                     without identifying a specific Debtor, may be deemed as filed only against
                     Cox Operating L.L.C..

                e.   Claim Against Multiple Debtor Entities. Each Proof of Claim must state
                     a claim against only one Debtor and clearly indicate the Debtor against
                     which the claim is asserted. To the extent more than one Debtor is listed on
                     the Proof of Claim, such claim may be deemed as filed only against Cox
                     Operating L.L.C..

                f.   Supporting Documentation. Each Proof of Claim must include supporting
                     documentation in accordance with Bankruptcy Rules 3001(c) and (d). If,
                     however, such documentation is voluminous, such Proof of Claim may
                     include a summary of such documentation; provided, that (i) the Proof of
                     Claim contains current contact information for the creditor or its designated
                     representative from whom the Debtors may request the full supporting
                     documentation and (ii) such party must produce those documents upon
                     request by Debtors’ counsel no later than ten (10) days from the date of such
                     request.     Any supporting documentation that includes personally
                     identifiable information should be redacted or hidden prior to submission.

                g.   Timely Service. Each Proof of Claim must be filed, including supporting
                     documentation, so as to be actually received on or before the applicable Bar
                     Date by either (i) electronic submission via the interface through PACER
                     (Public Access to Court Electronic Records at http://ecf.txsb.uscourts.gov);
                     (ii) electronic submission via the interface available on Kroll’s website at
                     https://restructuring.ra.kroll.com/MLCJR; or (iii) by first class U.S. mail,
                     overnight U.S. mail, or other hand delivery method at the following address:

                                         Overnight Mail or Hand Delivery
                                     MLCJR LLC Claims Processing Center
                                  c/o Kroll Restructuring Administration LLC
                                            850 3rd Avenue, Suite 412
                                              Brooklyn, NY 11232

                                                 First Class Mail
                                     MLCJR LLC Claims Processing Center
                                  c/o Kroll Restructuring Administration LLC
                                            850 3rd Avenue, Suite 412
                                              Brooklyn, NY 11232



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                              PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                                ELECTRONIC MAIL WILL NOT BE ACCEPTED.

                h.     Receipt of Service. Claimants wishing to receive proof of receipt of their
                       Proofs of Claim submitted by U.S. mail must submit to Kroll (i) a copy of
                       the Proof of Claim Form (in addition to the original Proof of Claim Form
                       sent to Kroll) and (ii) a self-addressed, stamped envelope.

        11.     Notwithstanding anything to the contrary, the requirements for any Proof of Claim

to be filed by a DIP Lender (as defined in the DIP Order), shall be governed by the terms of the

DIP Order.

V.      Identification of Known Creditors

        12.     The Debtors shall mail notice of the Bar Dates only to their known creditors, and

such mailing shall be made to the last known mailing address for each such creditor, as reflected

in the Debtors’ books and records at such time.

VI.     Procedures for Providing Notice of the Bar Date

        A.      Mailing of Bar Date Notices

        13.     No later than three (3) business days after entry of this Bar Date Order, the Debtors

shall cause a written notice of the Bar Dates, substantially in the form attached hereto as Exhibit 2

(the “Bar Date Notice”) and a Proof of Claim Form (together, the “Bar Date Package”) to be

mailed via first class mail to the following entities (or their respective counsel, if known):

                a.     the U.S. Trustee for the Southern District of Texas;

                b.     the entities listed as holding the 30 largest unsecured claims against the
                       Debtors (on a consolidated basis);

                c.     White & Case LLP, as counsel to the Committee;

                d.     all creditors and other known holders of claims against the Debtors as of the
                       date of entry of the Bar Date Order, including all entities listed in the
                       Schedules as holding claims against the Debtor once the Schedules are filed;

                e.     all entities that have requested notice pursuant to Bankruptcy Rule 2002 as
                       of the date of the Bar Date Order;



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                f.     all entities that have filed Proofs of Claim in these chapter 11 cases as of
                       the date of the Bar Date Order;

                g.     all known non-Debtor equity and interest holders of the Debtors as of the
                       date the Bar Date Order is entered;

                h.     all entities who are party to executory contracts and unexpired leases with
                       the Debtors;

                i.     all entities who are party to active litigation with the Debtor;

                j.     all current or former officers, managers, and directors, other than the current
                       independent manager (to the extent that contact information for such
                       person(s) is available in the Debtors’ records);

                k.     all current and former employees (to the extent that contact information for
                       former employees is available in the Debtors’ records);

                l.     all regulatory authorities that regulate the Debtors’ business, including
                       environmental and permitting authorities;

                m.     the Offices of the Attorney General for each of the states in which the
                       Debtors maintain or conduct business;

                n.     the District Director of the Internal Revenue Service for the Southern
                       District of Texas;

                o.     all other taxing authorities for the jurisdictions in which the Debtors
                       maintain or conduct business;

                p.     all other entities listed on the Debtors’ matrix of creditors; and

                q.     the Office of the United States Attorney for the Southern District of Texas.

        14.     The Debtors shall mail notice of the Bar Date Notice only to their known creditors

and such mailing shall be made to the last known mailing address for each such creditor, as

reflected in the Debtors’ books and records at such time. Any creditor may choose to submit a

Proof of Claim on a different form as long as it is substantially similar to Official Form 410.

        B.      Supplemental Mailings

        15.     After the initial mailing of the Bar Date Packages, the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that:

(a) notices are returned by the post office with forwarding addresses; (b) certain parties acting on

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behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtors for direct mailing; and (c) additional potential claimants

become known as the result of the Bar Date mailing process. The Debtors may make supplemental

mailings of the Bar Date Package in these and similar circumstances at any time up to fourteen

(14) days in advance of the applicable Bar Date, with any such mailings being deemed timely and

the Bar Date being applicable to the recipient creditors.

        C.      Publication of Bar Date Notice

        16.     The Debtors shall cause notice of the General Bar Date and Governmental Bar Date

to be given by publication to creditors to whom notice by mail is impracticable, including creditors

who are unknown or not reasonably ascertainable by the Debtors and creditors whose identities

are known but whose addresses are unknown by the Debtor. As soon as reasonably practicable

after entry of the Bar Date Order, the Debtors shall publish the Publication Notice, substantially in

the form attached as Exhibit 3 with any modifications the Debtors deem appropriate for publication

purposes (the “Publication Notice”), on one occasion in one national publication and relevant

trade or local publication, in each case, in the prudent exercise of the Debtors’ business judgement.

        17.     Notice of the Bar Dates as set forth in this Bar Date Order and in the manner set

forth herein (including, but not limited to, the Bar Date Notice, the Publication Notice, and any

supplemental notices that the Debtors may send from time to time) constitutes adequate and

sufficient notice of each of the Bar Dates and satisfies the requirements of the Bankruptcy Code,

the Bankruptcy Rules, and the Bankruptcy Local Rules.

VII.    Consequences of Failure to File a Proof of Claim

        18.     Any entity that is required, but fails, to file a Proof of Claim in accordance with this

Bar Date Order on or before the applicable Bar Date shall be (a) forever barred, estopped, and

enjoined from asserting such claim against the Debtors (or filing a Proof of Claim with respect


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thereto) and the Debtors and their property shall be forever discharged from any and all

indebtedness or liability with respect to or arising from such claim and (b) prohibited from voting

to accept or reject any chapter 11 plan filed in these chapter 11 cases, participating in any

distribution in these chapter 11 cases on account of such claim, or receiving further notices

regarding such claim. Without limiting the foregoing sentence, any creditor asserting a claim

entitled to priority pursuant to section 503(b)(9) of the Bankruptcy Code that fails to file a Proof

of Claim in accordance with this Bar Date Order shall not be entitled to any priority treatment on

account of such claim, regardless of whether such claim is identified on the Schedules as not

contingent, not disputed, and liquidated. Such entity shall not be treated as a creditor with respect

to such claim for any purpose in these chapter 11 cases.

VIII. Miscellaneous

        19.     The Debtors are authorized to take all actions necessary or appropriate to effectuate

the relief granted pursuant to this Bar Date Order in accordance with the Motion.

        20.     The terms and conditions of this Bar Date Order shall be immediately effective and

enforceable upon entry of this Bar Date Order.

        21.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Bankruptcy Code, the Bankruptcy Rules and the

Bankruptcy Local Rules are satisfied by such notice.

        22.     All time periods set forth in this Bar Date Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).




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        23.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Bar Date Order.

 Signed __________________, 2023

              August
              June     02, 2019
                   22, 2023
                                                   CHRISTOPHER M. LOPEZ
                                                   UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                               Proof of Claim Form




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United States Bankruptcy Court, Southern District of Texas


     MLCJR LLC (Case No. 23-90324)                                Cox Oil Offshore, L.L.C. (Case No. 23-90328)

     M21K, LLC (Case No. 23-90325)                                Energy XXI Gulf Coast, LLC (Case No. 23-90329)

     EPL Oil & Gas, LLC (Case No. 23-90326)                       Energy XXI GOM, LLC (Case No. 23-90330)

     Cox Operating L.L.C. (Case No. 23-90327)




 Modified Official Form 410
 Proof of Claim                                                                                                                                            04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense (other than a claim entitled to priority under 11 U.S.C. § 503(b)(9)). Make such a
 request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                               Name of the current creditor (the person or entity to be paid for this claim)

                               Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                  No
   someone else?                  Yes. From whom?

3. Where should notices        Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                     different)
   creditor be sent?
   Federal Rule of
   Bankruptcy Procedure
   (FRBP) 2002(g)




                               Contact phone                                                               Contact phone

                               Contact email                                                               Contact email

4. Does this claim amend          No
   one already filed?             Yes. Claim number on court claims registry (if known)                                        Filed on
                                                                                                                                           MM   / DD   / YYYY



5. Do you know if anyone          No
   else has filed a proof         Yes. Who made the earlier filing?
   of claim for this claim?




                                                                         Proof of Claim                                                           page 1
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   Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
    you use to identify the       Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:
    debtor?



7. How much is the claim?          $                                       . Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
    claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.




9. Is all or part of the claim    No
     secured?                     Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:



                                           Basis for perfection:
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                            $


                                           Amount of the claim that is secured:          $


                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)


                                           Amount necessary to cure any default as of the date of the petition:               $



                                           Annual Interest Rate (when case was filed)              %
                                              Fixed
                                              Variable


10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property:




                                                                       Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                 Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                $
   nonpriority. For example,
   in some categories, the                   Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                            $
   entitled to priority.
                                             Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                     $
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(             ) that applies.                          $

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the          No
    claim entitled to
    administrative priority        Yes. Indicate the amount of your claim arising from the value of any goods received                             $ ____________________
    pursuant to                           by the Debtor within 20 days before the date of commencement of the above case, in
    11 U.S.C. § 503(b)(9)?                which the goods have been sold to the Debtor in the ordinary course of such
                                          Debtor’s business. Attach documentation supporting such claim.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 5005(a)(2) authorizes courts
 to establish local rules         I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 specifying what a signature      amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 is.                              I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
                                  and correct.
 A person who files a
 fraudulent claim could be        I declare under penalty of perjury that the foregoing is true and correct.
 fined up to $500,000,            Executed on date         _________________
 imprisoned for up to 5                                    MM / DD     /   YYYY
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3571.

                                  8________________________________________________________________________
                                          Signature

                                  Name of the person who is completing and signing this claim:

                                  Name
                                                          First name                           Middle name                            Last name

                                  Title

                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                          Number            Street


                                                          City                                                         State          ZIP Code

                                  Contact phone                                                                        Email




                                                                             Proof of Claim                                                                  page 3
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Modified Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                            12/15


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors
do not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.


  A person who files a fraudulent claim could be fined up
  to $500,000, imprisoned for up to 5 years, or both.
  18 U.S.C. §§ 152, 157 and 3571.




How to fill out this form                                           A Proof of Claim form and any attached documents
                                                                       must show only the last 4 digits of any social security
 Fill in all of the information about the claim as of the             number, individual’s tax identification number, or
   date the case was filed.                                            financial account number, and only the year of any
                                                                       person’s date of birth. See Bankruptcy Rule 9037.
 Fill in the caption at the top of the form.
                                                                    For a minor child, fill in only the child’s initials and the
 If the claim has been acquired from someone else,
                                                                       full name and address of the child’s parent or
   then state the identity of the last party who owned the             guardian. For example, write A.B., a minor child (John
   claim or was the holder of the claim and who transferred            Doe, parent, 123 Main St., City, State). See Bankruptcy
   it to you before the initial claim was filed.                       Rule 9037.


 Attach any supporting documents to this form.
   Attach redacted copies of any documents that show that the      Confirmation that the claim has been filed
   debt exists, a lien secures the debt, or both. (See the
   definition of redaction on the next page.)                       To receive confirmation that the claim has been filed, enclose a
                                                                    stamped self-addressed envelope and a copy of this form. You
   Also attach redacted copies of any documents that show           may view a list of filed claims in this case by visiting the
   perfection of any security interest or any assignments or        Claims and Noticing Agent's website at
   transfers of the debt. In addition to the documents, a           http://restructuring.ra.kroll.com/mlcjr.
   summary may be added. Federal Rule of Bankruptcy
   Procedure (called “Bankruptcy Rule”) 3001(c) and (d).
                                                                   Understand the terms used in this form
 Do not attach original documents because                         Administrative expense: Generally, an expense that arises
   attachments may be destroyed after scanning.                    after a bankruptcy case is filed in connection with operating,
                                                                   liquidating, or distributing the bankruptcy estate.
 If the claim is based on delivering health care goods            11 U.S.C. § 503.
   or services, do not disclose confidential health care
   information. Leave out or redact confidential
                                                                   Claim: A creditor’s right to receive payment for a debt that
   information both in the claim and in the attached
                                                                   the debtor owed on the date the debtor filed for bankruptcy.
   documents.
                                                                   11 U.S.C. §101 (5). A claim may be secured or unsecured.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising              Secured claim under 11 U.S.C. §506(a): A claim backed by
from the value of any goods received by the Debtor within            a lien on particular property of the debtor. A claim is secured
20 days before the date of commencement of the above case,           to the extent that a creditor has the right to be paid from the
in which the goods have been sold to the Debtor in the               property before other creditors are paid. The amount of a
ordinary course of the Debtor's business. Attach                     secured claim usually cannot be more than the value of the
documentation supporting such claim.                                 particular property on which the creditor has a lien. Any
                                                                     amount owed to a creditor that is more than the value of the
Creditor: A person, corporation, or other entity to whom a
                                                                     property normally may be an unsecured claim. But exceptions
debtor owes a debt that was incurred on or before the date the       exist; for example, see 11 U.S.C. § 1322(b) and the final
debtor filed for bankruptcy. 11 U.S.C. §101 (10).                    sentence of 1325(a).
                                                                     Examples of liens on property include a mortgage on real
Debtor: A person, corporation, or other entity who is in             estate or a security interest in a car. A lien may be voluntarily
bankruptcy. Use the debtor’s name and case number as shown           granted by a debtor or may be obtained through a court
in the bankruptcy notice you received. 11 U.S.C. § 101 (13).         proceeding. In some states, a court judgment may be a lien.


Evidence of perfection: Evidence of perfection of a security         Setoff: Occurs when a creditor pays itself with money
interest may include documents showing that a security               belonging to the debtor that it is holding, or by canceling a
interest has been filed or recorded, such as a mortgage, lien,       debt it owes to the debtor.
certificate of title, or financing statement.
                                                                     Unsecured claim: A claim that does not meet the
Information that is entitled to privacy: A Proof of Claim            requirements of a secured claim. A claim may be unsecured in
form and any attached documents must show only the last 4            part to the extent that the amount of the claim is more than the
digits of any social security number, an individual’s tax            value of the property on which a creditor has a lien.
identification number, or a financial account number, only the
initials of a minor’s name, and only the year of any person’s
date of birth. If a claim is based on delivering health care         Offers to purchase a claim
goods or services, limit the disclosure of the goods or services
                                                                     Certain entities purchase claims for an amount that is less than
to avoid embarrassment or disclosure of confidential health
                                                                     the face value of the claims. These entities may contact
care information. You may later be required to give more
                                                                     creditors offering to purchase their claims. Some written
information if the trustee or someone else in interest objects to
                                                                     communications from these entities may easily be confused
the claim.
                                                                     with official court documentation or communications from the
                                                                     debtor. These entities do not represent the bankruptcy court,
Priority claim: A claim within a category of unsecured               the bankruptcy trustee, or the debtor. A creditor has no
claims that is entitled to priority under 11 U.S.C. §507(a).         obligation to sell its claim. However, if a creditor decides to
These claims are paid from the available money or                    sell its claim, any transfer of that claim is subject to
property in a bankruptcy case before other unsecured                 Bankruptcy Rule 3001(e), any provisions of the Bankruptcy
claims are paid. Common priority unsecured claims                    Code (11 U.S.C. § 101 et seq.) that apply, and any orders of
include alimony, child support, taxes, and certain unpaid            the bankruptcy court that apply.
wages.


Proof of claim: A form that shows the amount of debt the             Please send completed Proof(s) of Claim to:
debtor owed to a creditor on the date of the bankruptcy filing.      MLCJR LLC Claims Processing Center
The form must be filed in the district where the case is             c/o Kroll Restructuring Administration LLC
pending.                                                             Grand Central Station, PO Box 4850
                                                                     New York, NY 10163-4850
Redaction of information: Masking, editing out, or deleting
certain information to protect privacy. Filers must redact or
leave out information entitled to privacy on the Proof of
Claim form and any attached documents.                              Do not file these instructions with your form
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                                    Exhibit 2

                             Form of Bar Date Notice




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
MLCJR LLC, et al.,1                                          : Case No. 23-90324 (CML)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                  NOTICE OF DEADLINES FOR THE FILING OF
             PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
            PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

TO:    ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST THE
      FOLLOWING DEBTOR ENTITIES:

                                          DEBTORS                                                    CASE NO.
    MLCJR LLC                                                                                      23-90324 (CML)
    M21K, LLC                                                                                      23-90325 (CML)
    EPL OIL & GAS, LLC                                                                             23-90326 (CML)
    COX OPERATING, L.L.C.                                                                          23-90327 (CML)
    COX OIL OFFSHORE, L.L.C.                                                                       23-90328 (CML)
    ENERGY XXI GULF COAST, LLC                                                                     23-90329 (CML)
    ENERGY XXI GOM, LLC                                                                            23-90330 (CML)

PLEASE TAKE NOTICE THAT:

        On May 14, 2023 (the “Petition Date”), the above-captioned debtors and debtors in
possession (collectively, the “Debtors”), filed voluntary petitions for relief under chapter 11 of
title 11 the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court
for Southern District of Texas (the “Court”).

        On [], 2023, the Court entered an order [Docket No. []] the (“Bar Date Order”)2
establishing certain dates by which parties holding prepetition claims against the Debtors must



1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    MLCJR LLC (0875); Cox Oil Offshore, L.L.C. (7047); Cox Operating, L.L.C. (0939); Energy XXI GOM, LLC
    (0027); Energy XXI Gulf Coast, LLC (8595); EPL Oil & Gas, LLC (9562); and M21K, LLC (3978). The Debtors’
    address is 4514 Cole Ave, Suite 1175, Dallas, Texas 75205.
2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Bar Date Order.


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file proofs of claim, including requests for payment pursuant to section 503(b)(9) of the Bankruptcy
Code (“Proofs of Claim”).

       For your convenience, enclosed with this notice (this “Notice”) is a Proof of Claim form,
which identifies on its face the amount, nature, and classification of your claim(s), if any, listed in
the Debtors’ schedules of assets and liabilities filed in these chapter 11 cases (the “Schedules”).

        As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of
the Bankruptcy Code, and includes all persons, estates, trusts, governmental units, and the Office
of the United States Trustee for the Southern District of Texas. The terms “persons” and
“governmental units” are defined in sections 101(41) and 101(27) of the Bankruptcy Code,
respectively. The term “claim” means, as to or against the Debtors and in accordance with section
101(5) of the Bankruptcy Code: (a) any right to payment, whether or not such right is reduced to
judgment, liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed,
legal, equitable, secured, or unsecured; or (b) any right to an equitable remedy for breach of
performance if such breach gives rise to a right to payment, whether or not such right to an
equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured, disputed,
undisputed, secured, or unsecured.

I.      THE BAR DATES

       The Bar Date Order establishes the following bar dates for filing Proofs of Claim in these
chapter 11 cases (collectively, the “Bar Dates”):

                a.     The General Bar Date. Except as described below, all persons or entities
                       holding claims against the Debtors that arose or are deemed to have arisen
                       prior to the Petition Date, including claims arising under section 503(b)(9)
                       of the Bankruptcy Code, are required to file Proofs of Claim so that they are
                       actually received by Wednesday, July 26, 2023, at 5:00 p.m. prevailing
                       Central Time. Except as otherwise set forth below, the General Bar Date
                       applies to all types of claims against the Debtors that arose prior to the
                       Petition Date, including secured claims, unsecured priority claims, and
                       unsecured non-priority claims.

                b.     The Governmental Bar Date. All governmental units holding claims
                       against the Debtors that arose or are deemed to have arisen prior to the
                       Petition Date are required to file Proofs of Claim so that they are actually
                       received by Friday, November 10, 2023, at 5:00 p.m. prevailing Central
                       Time. The Governmental Bar Date applies to all governmental units
                       holding claims against the Debtor, including secured claims, unsecured
                       priority claims, and unsecured non-priority claims, claims arising under
                       section 503(b)(9) of the Bankruptcy Code, and claims for unpaid taxes
                       arising from prepetition tax years or periods or prepetition transactions.

                c.     The Amended Schedules Bar Date. All persons or entities asserting
                       claims against the Debtors’ whose claims are affected by an amendment or
                       supplement to the Debtors’ Schedules are required to file Proofs of Claim


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                      so that they are actually received by the later of (i) the General Bar Date
                      or Governmental Bar Date, as applicable, and (ii) 5:00 p.m. prevailing
                      Central Time on the date that is thirty (30) days after the date on which
                      the Debtors provide notice of such amendment or supplement.

                d.    The Rejection Damages Bar Date. All persons or entities asserting claims
                      against the Debtors’ arising from the Debtors’ rejection of an executory
                      contract or unexpired lease are required to file Proofs of Claim so that they
                      are actually received by the later of (i) the General Bar Date or
                      Governmental Bar Date, as applicable, and (ii) 5:00 p.m. prevailing
                      Central Time on the date that is thirty (30) days following service of an
                      order approving the rejection of such executory contract or unexpired
                      lease; and (iii) any such other date that the Court may fix in the
                      applicable order approving such rejection.

II.     WHO MUST FILE A PROOF OF CLAIM

        Except as otherwise set forth herein, the following persons or entities holding claims
against the Debtors that arose (or that are deemed to have arisen) prior to the Petition Date must
file Proofs of Claim on or before the applicable Bar Date:

                a.    any entity whose claim against a Debtor is not listed in the applicable
                      Debtor’s Schedules or whose claim is listed as contingent, unliquidated, or
                      disputed, if such entity desires to participate in the chapter 11 cases or
                      otherwise wishes to share in any distribution arising from the chapter 11
                      cases;

                b.    any entity that believes its claim is improperly classified in the Schedules
                      or listed for an incorrect amount and desires to have its claim allowed under
                      a classification or in an amount different than set forth in the Schedules;

                c.    any former or present full-time, part-time, salaried, or hourly employee
                      asserting a claim based on a grievance against any Debtors to the extent the
                      grounds for such grievance arose on or prior to the Petition Date; provided,
                      that current employees of the Debtors are not required to file a Proof of
                      Claim for wages, commissions, or benefits;

                d.    any entity that believes its claim is listed in the wrong Debtors’ Schedule
                      and desires to have its claim allowed against a Debtors whose Schedule does
                      not list such entity’s claim; and

                e.    any entity alleging that its claim is or may qualify as an administrative
                      expense pursuant to section 503(b)(9) of the Bankruptcy Code.

III.    PARTIES WHO DO NOT NEED TO FILE A PROOF OF CLAIM

       Certain parties are not required to file Proofs of Claim. The Court may, however, enter
one or more separate orders at a later time requiring creditors to file Proofs of Claim for some

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kinds of the following claims and setting related deadlines. If the Court does enter such an order,
you will receive notice of it. The following entities holding claims that would otherwise be subject
to the Bar Dates need not file Proofs of Claims:

                a.     the U.S. Trustee, on account of claims for fees payable pursuant to
                       28 U.S.C. § 1930;

                b.     any entity that has filed a signed Proof of Claim against the respective
                       Debtor(s) with the Clerk of the Court or with Kroll in a form substantially
                       similar to Official Form 410 prior to entry of an order on this Motion;

                c.     any entity whose claim is listed on the Schedules and: (i) is not listed in the
                       Schedules as “disputed,” “contingent,” or “unliquidated;” (ii) such entity
                       agrees with the amount, nature, and priority of the claim as set forth in the
                       Schedules; and (iii) such entity does not dispute that its claim is an
                       obligation only of the specific Debtor against which the claim is listed in
                       the Schedules;

                d.     any entity whose claim has previously been allowed by a final order of the
                       Court entered on or before the applicable Bar Date;

                e.     any Debtor or non-Debtor affiliate having a claim against a Debtor;

                f.     any entity whose claim is solely against any non-Debtor affiliates;

                g.     any entity whose claim has been paid in full by the Debtors pursuant to the
                       Bankruptcy Code or in accordance with a Court order;

                h.     any current employee of the Debtors, if an order of the Court authorized the
                       Debtors to honor such claim in the ordinary course of business as a wage,
                       commission, or benefit;

                i.     any current or former officer, manager, director, or employee for claims
                       based on indemnification, contribution, or reimbursement to the extent
                       arising from the Debtors’ organizational documents, limited liability
                       company agreements, charters or bylaws; provided that the current
                       Independent Manager shall be exempted from the requirements of the Bar
                       Date Order;

                j.     any entity holding a claim for which a separate deadline is fixed by order of
                       this Court;

                k.     any entity holding a claim allowable under sections 503(b) and 507(a)(2) of
                       the Bankruptcy Code as an administrative expense; provided, that any entity
                       asserting a claim entitled to priority under section 503(b)(9) of the
                       Bankruptcy Code must assert such claims by filing an application for
                       payment or a Proof of Claim on or prior to the General Bar Date;


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                l.     any party that is exempt from filing a Proof of Claim pursuant to an order
                       of the Court in these chapter 11 cases, including without limitation, the
                       Final Order (I) Authorizing Debtors (A) to Obtain Postpetition Financing
                       Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2),
                       364(c)(3), 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant
                       to 11 U.S.C. § 363, (II) Granting Adequate Protection to Prepetition
                       Secured Parties Pursuant to 11 U.S.C. §§ 361, 362, 363, 364 and 507(b)
                       and (III) Scheduling Final Hearing Pursuant to Bankruptcy Rules 4001(b)
                       and (c) (the “DIP Order”); and

                m.     any entity holding an equity interest in any Debtor.

IV.      INSTRUCTIONS FOR FILING PROOFS OF CLAIM

         The following requirements shall apply with respect to filing and preparing each Proof of
Claim:

                a.     Contents. Each Proof of Claim must: (i) be written in English; (ii) include
                       a claim amount denominated in United States dollars; (iii) conform
                       substantially with the Proof of Claim Form provided by the Debtors or
                       Official Form 410; and (iv) be signed by the claimant or by an authorized
                       agent or legal representative on behalf of the claimant.

                b.     Section 503(b)(9) Claim. Any Proof of Claim asserting a claim entitled to
                       priority under section 503(b)(9) must also: (i) include the value of the goods
                       delivered to and received by the Debtors in the twenty (20) days prior to the
                       Petition Date; (ii) attach any documentation identifying the particular
                       invoices for which the 503(b)(9) claim is being asserted; and (iii) attach
                       documentation of any reclamation demand made to the Debtors under
                       section 546(c) of the Bankruptcy Code (if applicable).

                c.     Electronic Signatures Permitted. Only original Proofs of Claim signed
                       electronically or in ink by the claimant or an authorized agent or legal
                       representative of the claimant are acceptable for purposes of claims
                       administration. Copies of Proofs of Claim, or Proofs of Claim sent by
                       facsimile or electronic mail, will not be accepted.

                d.     Identification of the Debtor Entity. Each Proof of Claim must clearly
                       identify the specific Debtor against which a claim is asserted, including the
                       individual Debtor’s case number. A Proof of Claim filed under the joint
                       administration case number (Case No. 23-90324 (CML)), or otherwise
                       without identifying a specific Debtor, may be deemed as filed only against
                       Cox Operating L.L.C..

                e.     Claim Against Multiple Debtor Entities. Each Proof of Claim must state
                       a claim against only one Debtor and clearly indicate the Debtor against
                       which the claim is asserted. To the extent more than one Debtor is listed on


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                     the Proof of Claim, such claim may be deemed as filed only against Cox
                     Operating L.L.C..

                f.   Supporting Documentation. Each Proof of Claim must include supporting
                     documentation in accordance with Bankruptcy Rules 3001(c) and (d). If,
                     however, such documentation is voluminous, such Proof of Claim may
                     include a summary of such documentation; provided, that (i) the Proof of
                     Claim contain current contact information for the creditor or its designated
                     representative from whom the Debtors may request the full supporting
                     documentation and (ii) such party must produce those documents upon
                     request by Debtors’ counsel no later than ten (10) days from the date of such
                     request.     Any supporting documentation that includes personally
                     identifiable information should be redacted or hidden prior to submission.

                g.   Timely Service. Each Proof of Claim must be filed, including supporting
                     documentation, so as to be actually received on or before the applicable
                     Bar Date by either (i) electronic submission via the interface through
                     PACER (Public Access to Court Electronic Records at
                     http://ecf.txsb.uscourts.gov); (ii) electronic submission via the interface
                     available on Kroll’s website at https://restructuring.ra.kroll.com/MLCJR; or
                     (iii) by first class U.S. mail, overnight U.S. mail, or other hand delivery
                     method at the following address:

                                         Overnight Mail or Hand Delivery
                                     MLCJR LLC Claims Processing Center
                                  c/o Kroll Restructuring Administration LLC
                                            850 3rd Avenue, Suite 412
                                              Brooklyn, NY 11232

                                                   First Class Mail
                                     MLCJR LLC Claims Processing Center
                                  c/o Kroll Restructuring Administration LLC
                                            850 3rd Avenue, Suite 412
                                              Brooklyn, NY 11232

                           PROOFS OF CLAIM SUBMITTED BY FACSIMILE OR
                             ELECTRONIC MAIL WILL NOT BE ACCEPTED.

                h.   Receipt of Service. Claimants wishing to receive proof of receipt of their
                     Proofs of Claim submitted by U.S. mail must submit to Kroll (i) a copy of
                     the Proof of Claim Form (in addition to the original Proof of Claim Form
                     sent to Kroll) and (ii) a self-addressed, stamped envelope.




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V.      CONSEQUENCES OF FAILING TO TIMELY FILE YOUR PROOF OF CLAIM

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if you
or any party or entity who is required, but fails, to file a Proof of Claim in accordance with the Bar
Date Order on or before the applicable Bar Date, please be advised that:
                a.     YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED
                       FROM ASSERTING SUCH CLAIM AGAINST THE DEBTORS (OR
                       FILING A PROOF OF CLAIM WITH RESPECT THERETO);

                b.     THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
                       DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR
                       LIABILITY WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

                c.     YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE
                       CHAPTER 11 CASES ON ACCOUNT OF THAT CLAIM; AND

                d.     YOU WILL NOT BE PERMITTED TO VOTE ON ANY PLAN OR
                       PLANS OF REORGANIZATION FOR THE DEBTORS ON ACCOUNT
                       OF THESE BARRED CLAIMS OR RECEIVE FURTHER NOTICES
                       REGARDING SUCH CLAIM.

VI.     RESERVATION OF RIGHTS

        Nothing contained in this Notice is intended to or should be construed as a waiver of the
Debtors’ right to: (a) dispute, or assert offsets or defenses against, any filed claim or any claim
listed or reflected in the Schedules as to the nature, amount, liability, or classification thereof;
(b) subsequently designate any scheduled claim as disputed, contingent, or unliquidated; and
(c) otherwise amend or supplement the Schedules.

VII.    THE DEBTORS’ SCHEDULES AND ACCESS THERETO

        You may be listed as the holder of a claim against one or more of the Debtor entities in the
Debtors’ Schedules. To determine if and how you are listed on the Schedules, please refer to the
descriptions set forth on the enclosed Proof of Claim forms regarding the nature, amount, and
status of your claim(s), if any.

        If the Debtors believe that you may hold claims against more than one Debtor entity, you
will receive multiple Proof of Claim forms, each of which will reflect the nature and amount of
your claim against one Debtor entity, as listed in the Schedules.

        If you rely on the Debtors’ Schedules, it is your responsibility to determine that the claim
is accurately listed in the Schedules.

        As described above, if you agree with the nature, amount, and status of your claim as listed
in the Debtors’ Schedules, and if you do not dispute that your claim is only against the Debtor
entity specified, and if your claim is not described as “disputed,” “contingent,” or “unliquidated,”



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you do not need to file a Proof of Claim. Otherwise, you must file a Proof of Claim before the
applicable Bar Date in accordance with the procedures set forth in this Notice.

VIII. ADDITIONAL INFORMATION

         Copies of the Debtors’ Schedules, the Bar Date Order, and other information regarding
these chapter 11 cases are available for inspection free of charge on the Debtors’
website at https://restructuring.ra.kroll.com/MLCJR/. The Schedules and other filings in these
chapter 11 cases also are available for a fee at the Court’s website at
https://ecf.txsb.uscourts.gov/. A login identification and password to the Court’s Public Access
to Court Electronic Records (“PACER”) are required to access this information and can be
obtained through the PACER Service Center at https://pacer.login.uscourts.gov. Copies of
the Schedules and other documents filed in these chapter 11 cases also may be examined between the
hours of 8:00 a.m. and 5:00 p.m., prevailing Central Time, Monday through Friday, at the office of
the Clerk of the Bankruptcy Court, United States Bankruptcy Court for the Southern District of
Texas, United States Courthouse, 515 Rusk Avenue, Houston, Texas 77002.

       If you require additional information regarding the filing of a Proof of Claim, you may
contact the Debtors’ claims and noticing agent, Kroll at (833) 278-6637 (Toll Free) or (949) 471-
0454 (International).



 HOLDERS OF POSSIBLE CLAIMS AGAINST THE DEBTORS SHOULD CONSULT
 AN ATTORNEY REGARDING ANY MATTERS NOT COVERED BY THIS NOTICE,
    SUCH AS WHETHER THE HOLDER SHOULD FILE A PROOF OF CLAIM.




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                                    Exhibit 3

                            Form of Publication Notice




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

------------------------------------------------------------ x
In re:                                                       : Chapter 11
                                                             :
MLCJR LLC, et al.,1                                          : Case No. 23-90324 (CML)
                                                             :
                    Debtors.                                 : (Jointly Administered)
                                                             :
------------------------------------------------------------ x

                  NOTICE OF DEADLINES FOR THE FILING OF
             PROOFS OF CLAIM, INCLUDING REQUESTS FOR PAYMENT
            PURSUANT TO SECTION 503(b)(9) OF THE BANKRUPTCY CODE

                       THE GENERAL BAR DATE IS:
      WEDNESDAY, JULY 26, 2023, AT 5:00 P.M., PREVAILING CENTRAL TIME

                  THE GOVERNMENTAL BAR DATE IS:
     FRIDAY NOVEMBER 10, 2023, AT 5:00 P.M., PREVAILING CENTRAL TIME

        PLEASE TAKE NOTICE OF THE FOLLOWING:

       Deadlines for Filing Proofs of Claim. On [], 2023, the United States Bankruptcy Court
for the Southern District of Texas (the “Court”) entered an order [Docket No. []]
(the “Bar Date Order”) establishing certain deadlines for the filing of proofs of claim, including
requests for payment under section 503(b)(9) of the Bankruptcy Code (collectively, “Proofs of
Claim”), in the chapter 11 cases of the following debtors and debtors in possession (collectively,
the “Debtors”):

                            DEBTORS                                                                  CASE NO.
    MLCJR LLC                                                                                      23-90324 (CML)
    M21K, LLC                                                                                      23-90325 (CML)
    EPL OIL & GAS, LLC                                                                             23-90326 (CML)
    COX OPERATING, L.L.C.                                                                          23-90327 (CML)
    COX OIL OFFSHORE, L.L.C.                                                                       23-90328 (CML)
    ENERGY XXI GULF COAST, LLC                                                                     23-90329 (CML)
    ENERGY XXI GOM, LLC                                                                            23-90330 (CML)



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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
    MLCJR LLC (0875); Cox Oil Offshore, L.L.C. (7047); Cox Operating, L.L.C. (0939); Energy XXI GOM, LLC
    (0027); Energy XXI Gulf Coast, LLC (8595); EPL Oil & Gas, LLC (9562); and M21K, LLC (3978). The Debtors’
    address is 4514 Cole Ave, Suite 1175, Dallas, Texas 75205.

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         The Bar Dates. Pursuant to the Bar Date Order, all persons and entities that have a claim
or potential claim against the Debtors that arose prior to February 13, 2023, no matter how remote
or contingent such right to payment or equitable remedy may be, including requests for payment
under section 503(b)(9) of the Bankruptcy Code, MUST FILE A PROOF OF CLAIM on or
before Wednesday, July 26, 2023, at 5:00 p.m., prevailing Central Time (the “General Bar
Date”). All governmental units that have a claim or potential claim against the Debtors that arose
prior to February 13, 2023, no matter how remote or contingent such right to payment or equitable
remedy may be MUST FILE A PROOF OF CLAIM on or before Friday, November 10, 2023, at
5:00 p.m., prevailing Central Time (the “Governmental Bar Date”). All persons and entities
holding claims arising from the Debtors’ rejection of executory contracts and unexpired leases are
required to file Proofs of Claim by the later of (a) the General Bar Date or Governmental Bar
Date, as applicable, and (b) 5:00 p.m., prevailing Central Time, on the date that is thirty (30)
days following service of the order approving the Debtors’ rejection of the applicable
executory contract or unexpired lease (the “Rejection Damages Bar Date”). All persons and
entities holding claims affected by an amendment to the Debtors’ schedules of assets and liabilities
filed in these chapter 11 cases (the “Schedules”) are required to file Proofs of Claim by the later
of (a) the General Bar Date or Governmental Bar Date, as applicable, and (b) 5:00 p.m.,
prevailing Central Time, on the date that is thirty (30) days from the date on which the Debtors
mail notice of the amendment to the Schedules (the “Amended Schedules Bar Date”).

     ANY ENTITY WHO FAILS TO FILE A PROOF OF CLAIM, INCLUDING ANY
REQUEST FOR PAYMENT UNDER SECTION 503(B)(9) OF THE BANKRUPTCY
CODE, ON OR BEFORE THE APPLICABLE BAR DATE SHALL NOT BE TREATED
AS A CREDITOR WITH RESPECT TO SUCH CLAIM FOR THE PURPOSES OF
VOTING AND DISTRIBUTION ON ANY CHAPTER 11 PLAN.

         Filing a Proof of Claim. Each Proof of Claim must be filed, including supporting
documentation, so as to be actually received on or before the applicable Bar Date by either
(i) electronic submission via the interface through PACER (Public Access to Court Electronic
Records at http://ecf.txsb.uscourts.gov); (ii) electronic submission via the interface available on
Kroll        Restructuring        Administration       LLC’s        (“Kroll”)       website       at
https://restructuring.ra.kroll.com/MLCJR; or (iii) by first class U.S. mail, overnight U.S. mail, or
other hand delivery method at the following address:

                               Overnight Mail or Hand Delivery
                             MLCJR LLC Claims Processing Center
                          c/o Kroll Restructuring Administration LLC
                                    850 3rd Avenue, Suite 412
                                      Brooklyn, NY 11232

                                         First Class Mail
                             MLCJR LLC Claims Processing Center
                          c/o Kroll Restructuring Administration LLC
                                    850 3rd Avenue, Suite 412
                                      Brooklyn, NY 11232



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        Contents of Proofs of Claim. Each Proof of Claim must: (1) be written in legible English;
(2) include a claim amount denominated in United States dollars; (3) clearly identify the Debtor
against which the claim is asserted; (4) conform substantially with the Proof of Claim form
provided by the Debtors or Official Form 410; (5) be signed by the claimant or by an authorized
agent or legal representative of the claimant on behalf of the claimant, whether such signature is
an electronic signature or is ink; and (6) include as attachments any and all supporting
documentation on which the claim is based. Please note that each Proof of Claim must state a
claim against only one Debtor and clearly indicate the specific Debtor against which the claim is
asserted. To the extent more than one Debtor is listed on the Proof of Claim, the Proof of Claim
may be treated as if filed only against Cox Operating L.L.C., or if a Proof of Claim is otherwise
filed without identifying a specific Debtor, the Proof of Claim may be deemed as filed only against
Cox Operating L.L.C.

        Electronic Signatures Permitted. Proofs of Claim signed electronically by the claimant
or an authorized agent or legal representative of the claimant may be deemed acceptable for
purposes of claims administration. Copies of Proofs of Claim, or Proofs of Claim sent by facsimile
or electronic mail, will not be accepted.

        Section 503(b)(9) Requests for Payment. Any Proof of Claim that asserts a right to
payment arising under section 503(b)(9) of the Bankruptcy Code must also: (1) include the value
of the goods received by the Debtors in the twenty (20) days prior to the Petition Date; (2) attach
any documentation identifying the particular invoices for which such 503(b)(9) claim is being
asserted; and (3) attach documentation of any reclamation demand made to the Debtors under
section 546(c) of the Bankruptcy Code (if applicable).

        Additional Information. If you have any questions regarding the claims process and/or
you wish to obtain a copy of the Bar Date Notice, a proof of claim form or related documents you
may do so by: (i) calling Kroll at (833) 278-6637 (Toll Free) or (949) 471-0454 (International);
and/or (ii) visiting https://restructuring.ra.kroll.com/MLCJR.




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